     Case 3:19-cv-00314-REP Document 700 Filed 11/15/24 Page 1 of 1 PageID# 10311
CIVIL PROCEEDINGS – U.S. DISTRICT COURT, EASTERN DISTRICT OF VIRGINIA, RICHMOND DIVISION
NON-JURY TRIAL OR MOTION HEARING MINUTE SHEET

JUDGE: ROBERT E. PAYNE                                                                         DOCKET NO.: 3:19-CV-314
REPORTER: KRISTA LISCIO, OCR                                                                   DATE: NOVEMBER 15, 2024

Case Style: RENEE GALLOWAY et al v. JUSTIN MARTORELLO et al
Counsel for Plaintiff(s): KRISTI KELLY, DREW SARRETT
Counsel for Defendant(s) Justin Martorello & Eventide Credit Acquisitions: JOHN TALIAFERRO (NOT
PRESENT)
Counsel for Defendant(s) Breakwater Holdings & Bluetech Irrevocable Trust: JONATHAN HOLLIS (NOT
PRESENT)
Counsel for Defendant(s) Rebecca Martorello: WILLIAM JACKSON (FILED FOR BANKRUPTCY 11/13/2024)


Matter Comes on For:    ( ) BENCH TRIAL
                        ( ) MOTION HEARING: __________________________________________
                        (  ) OTHER: STATUS HEARING PER ORDER (ECF NO. 677)

Appearances:    PARTIES              BY COUNSEL (  ) / WITH COUNSEL (                           )        PRO SE (   )

Motions Before Trial:
        (   ) _________________________________________
        (   ) _________________________________________


TRIAL PROCEEDINGS:

WITNESSES EXCLUDED ON MOTION OF: PLAINTIFF(S) (                             )    DEFENDANTS (         )   COURT (    )
OPENING STATEMENTS MADE (           )                         OPENING WAIVED (             )
PLAINTIFF(S) ADDUCED EVIDENCE (             )       RESTED (        )           MOTION (       ) _____________________
DEFENDANT(S) ADDUCED EVIDENCE (                 )    RESTED (           )        MOTION (       ) _____________________
REBUTTAL EVIDENCE ADDUCED (             )                     SUR-REBUTTAL EVIDENCE ADDUCED (                   )
EVIDENCE CONCLUDED (           )                ARGUMENTS OF COUNSEL HEARD (                         )
COURT FOUND IN FAVOR OF PLAINTIFF(S) (                )          MONETARY REWARD $____________________
COURT FOUND IN FAVOR OF DEFENDANT(S) (                        ) ___________________________________________
CLERK TO ENTER JUDGMENT ON DECISION (                     )      TRIAL EXHIBITS RETURNED TO COUNSEL (                    )

ADDITIONAL NOTATIONS:
NO DEFENDANTS NOR THEIR COUNSEL APPEARED FOR TODAY’S PROCEEDINGS; CURRENT LIVE
COUNTS ARE 2 (RICO), 5 (VIOLATION VA USURY LAWS), 28 (UNJUST ENRICHMENT), 29 (CIVIL
CONSPIRACY) ON COMPLAINT (ECF 1) PER ORDER (ECF 615); PLAINTIFFS REQUESTING TO WAIT
ON ENTRY OF COMFORT ORDER & THEN WITHIN 30 DAYS FILE FOR DEFAULT RE: BLUETECH &
MOTION FOR CLASS CERTIFICATION THEREAFTER; MOTION FOR EXTENSION (ECF 691) HELD IN
ABEYANCE PENDING REPORT OF PLAINTIFFS WITHIN 60 DAYS; PLAINTIFFS TO PROCEED W/
ENFORCEMENT OF DISCOVERY ORDER RE: BLUETECH; PLAINTIFFS TO FILE STATUS REPORT BY
11/22/2024 & AGAIN AFTER RULING ON COMFORT ORDER; PLAINTIFFS TO ORDER TRANSCRIPT

CASE CONTINUED UNTIL           ________________________                 AT _________           FOR _________________

SET: 10:00 A.M.           BEGAN: 10:20 A.M.               ENDED: 11:02 A.M.                TIME IN COURT: 42 MINS.
